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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )               Case No. 8:05CR252
                    Plaintiff,                 )
                                               )
      vs.                                      )
                                               )                     ORDER
JAIME GUITRON,                                 )
                                               )
                    Defendant.                 )


      This matter is before the court on the defendant’s Motion for Pretrial Release (#40).
The defendant moves the court for an order releasing him from CH, Inc., and placing him
with a third-party custodian. The motion is denied without hearing.
      The court has been informed by Pretrial Services that Pretrial Services received a
call on August 1, 2005 from Deb Klein of CH, Inc. informing Pretrial Services that the
defendant this weekend tested positive for alcohol, “blowing a .05 and a .06.”
      IT IS ORDERED:
      1. Defendant’s motion for Pretrial Release (#40) is denied without hearing.
      Dated this 2nd day of August 2005.

                                            BY THE COURT:


                                            S/ F.A. Gossett
                                            United States Magistrate Judge
